CLERK,   U. S.   DISTRICT   COUR
WESTERN DISTRICT OF TEXA
  UNITED STATES COURTHOUSE
525 MAGOFFIN AVENUE, ROOM 1C                                                                                1
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     EL PASO, TEXAS 79901                                lil
                                                      7020 11O 0001 9927 6254
      OFFICAL BUSINESS
 PENALTY FOR PRIVATE USE: $300




           Brandon Cal..lier
           6336 Franklin Trail
           El Paso TX US 79912




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